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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                          CASE NO.: 13-80716-CIV-MIDDLEBROOKS


     LIDES ARNALDO SOTO,                   )
                                           )
                   Plaintiff,              )
           vs.                             )
                                           )
                                           )
     HALO POLO LLC
                                           )
     MELISSA GANZI                         )
     MARC GANZI,                           )
                                           )
                  Defendants.              )
     _____________________________________ )

                     PLAINTIFF’S RESPONSE IN OPPOSITION TO
                  DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

            COMES NOW the Plaintiff, through undersigned counsel, and responds as

     follows:

            1.      This matter sounds under the Fair Labor Standards Act (“FLSA”)

                    regarding failure to pay legally mandated wages.

            2.      Defendant’s Summary Judgment [DE 24] should be denied as set forth

                    below, as the agricultural exemption in all its forms is not applicable in

                    this case and Defendants are not entitled to the affirmative defense of the

                    cost credit as the defense was waived and the defense is deficient.

                                   MEMORANDUM OF LAW

     A. SUMMARY JUDGMENT STANDARD.

                 Pursuant to Fed.R.Civ.P. 56, a summary judgment should be granted if,

     following sufficient discovery, there is no genuine issue of material fact to be decided by

     a jury; therefore summary judgment is to be granted as a matter of law. Hoffman v. Allied



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     Corp., et al., 912 F.2d 1379, 1383-84 (11th Cir. 1990), citing, Celotex Corp. v. Catrett,

     477 U.S. 317, 322 (1986). In determining if a genuine issue exists, the court must query

     whether “a reasonable jury could return a verdict for the nonmoving party….” Hoffman

     v. Allied Corp., et al., 912 F.2d at 1383.        See also, Beal v. Paramount Pictures

     Corporation, 20 F.3d 454, 459 (11th Cir. 1994)(“Summary Judgment is proper when

     there is no genuine issue of material fact and the moving party is entitled to judgment as a

     matter of law”); Silas v. Hillsborough County, 2006 U.S. Dist. LEXIS 79503, *3-4 (M.D.

     Fla. 2006)(in FLSA matter court found “[s]ummary judgment is proper if following

     discovery … there is no genuine issue as to any material fact….”). Here, there are

     genuine issues of fact regarding the all the relevant claims of Defendants’ Summary

     Judgment Motion.

     B.     THE AGRICULTURAL EXEMPTION IS NOT APPLICABLE IN THE

     CURRENT CASE


            Defendants primarily rely on the agricultural exemption to state that Plaintiff is

     not entitled to any overtime wages. The employer carries the burden of proving an

     exemption, Hogan v. Allstate Ins. Co., 361 F.3d 621, 625 (11th Cir. 2004), and in

     determining whether an exemption exists, the overtime provisions of Section 203 are

     narrowly construed against the employer. Atlanta Professional Firefighters Union, Local

     134 v. Atlanta, 920 F.2d 800, 804 (11th Cir. 1991); see also Brennan v. Sugar Cane

     Growers Co-Op of Fla., 486 F.2d 1006 (5th Cir.1973); see also Avery v. City of

     Talladega, Ala., 24 F.3d 1337, 1340 (11th Cir. 1994). The employer must prove the

     applicability of an exemption by clear and affirmative evidence. Klinedinst v. Swift Invs.,

     Inc., 260 F.3d 1251, 1254 (11th Cir. 2001).



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             1. PRIMARY AGRICULTURE

             Defendants contend that Plaintiff's job is primary agriculture under the FLSA.

     “'Agriculture' includes farming in all its branches and among other things includes the

     cultivation and tillage of the soil, dairying, the production, cultivation, growing, and

     harvesting of any agricultural or horticultural commodities... the raising of livestock,

     bees, fur-bearing animals, or poultry, and any practices (including any forestry or

     lumbering operations) performed by a farmer or on a farm as incident to or in conjunction

     with farming operations, including preparation for market, delivery to storage or to

     market or to carriers for transportation to market.” 29 U.S.C. 203(f).

             Primary agriculture is defined as any of the activities detailed in 29 U.S.C. 203(f)

     and an employee employed in these activities is engaged in agriculture regardless of

     whether he is employed by a farmer or on a farm. 29 C.F.R. 780.105(b). The term

     “'raising' employed with reference to livestock in section 3(f) includes such operations as

     the breeding, fattening, feeding, and general care of livestock. Thus, employees

     exclusively engaged in feeding and fattening livestock in stock pens where the livestock

     remains for a substantial period of time are engaged in the 'raising' of livestock.” 29

     C.F.R. 780.121. (emphasis added). However, in defining the raising of livestock, “[t]he

     feeding and care of livestock does not necessarily or under all circumstances

     constitute the 'raising' of such livestock.” Id. (emphasis added)

             Plaintiff's job functions do not fall under the ambit of agriculture as defined by 29

     U.S.C. 203(f) or 29 C.F.R. 780.121. Defendants have not cited to anything in the record

     that states Plaintiff cultivated or tilled soil. Nothing in the record suggests Plaintiff was




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     involved in dairying, the production, cultivation, growing, and harvesting of any

     agricultural or horticultural commodities. Nothing in the record suggests plaintiff

     prepared horses for market, delivered horses to storage, to the market, or even carriers for

     transportation to the market.

            Defendants hang their hat exclusively on the argument that Plaintiff was involved

     in “the raising of livestock.” However, Defendants’ basis for this is primarily in the

     functions of Halo Polo LLC itself, rather than the specific job duties of Plaintiff:

     “Defendant, Halo Polo's business is to breed, raise, train and take care of horses for polo

     purposes... Halo Polo leases, buys, and sells horses for these purposes, and its main

     function is to raise and train horses....” Defendants' Motion for Summary Judgment at

     [DE 24].

            When looking at exemptions, the courts will analyze what the individual

     employee does rather than his job title or the functions of the employer. For example with

     executive exemptions, an employee’s job title is irrelevant in determining whether he or

     she is exempt under the FLSA. Reich v. Newspapers of New England, Inc., 44 F.3d 1060,

     1075 (1st Cir. 1995). 29 C.F.R. §541.2 expressly states: “A job title alone is insufficient to

     establish the exempt status of an employee. The exempt or nonexempt status of any

     particular employee must be determined on the basis of whether the employee's salary

     and duties meet the requirements of the regulations in this part.”

            The Plaintiff specifically, however, was not engaged in the “raising of livestock.”

     Plaintiff was not involved in the breeding of horses and said horses didn't even fall under

     Plaintiff's oversight until they reached a certain age for polo training and were moved

     from a different facility to where Plaintiff worked. See Plaintiff's Statement of Material




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     Facts in Opposition to Defendants' Motion for Summary Judgment, filed concurrently

     with this response, at ¶12-13. Plaintiff's duties explicitly consisted of “exercising horses,

     feeding horses, grooming horses, cleaning stalls, maintaining tack, including bridles and

     saddles, cleaning the truck and trailer used to transport Halo Polo's horses, providing

     support at polo matches and bringing horses to the polo fields” as well as “training horses

     for use in polo” and “warm[ing] the horses up at polo games.” Defendants' Statement of

     Material Facts, previously filed as [DE 25], at ¶17-19. With the exception of feeding the

     horses, all these activities are explicitly done as part of polo training the horses and

     engaging the horses in polo games, not the “general care of livestock” under 29 C.F.R.

     780.121. The only activity Plaintiff does that may be anticipated as “the raising of

     livestock” under 29 U.S.C. 203(f) or 29 C.F.R. 780.121 is feeding the horses, however, as

     per 29 C.F.R. 780.121 simply feeding does not translate to “raising” livestock. 1

            It should also be noted that where an employee performs a mix of exempt and

     non-exempt work, the employee is fully covered under the statute.

                    The simplest answer to Superior's claimed exemption here
                    was that given by this Court in Hodgson v. Wittenburg, 464
                    F.2d 1219 (5th Cir. 1972): “The answer to that lies partly in
                    the rule that an employee's performance of both exempt and
                    non-exempt activities during the same work week defeats
                    any exemption that would otherwise apply.” This Court
                    also said in Brennan v. Six Flags Over Georgia Ltd., 474


     1
       It should also be noted that- while it does include “horses” generally- 29 C.F.R. 780.120
     specifically notes that “[t]he meaning of the term livestock’ as used in section 3(f) is
     confined to the ordinary use of the word and includes only domestic animals ordinarily
     raised or used on farms. That Congress did not use this term in its generic sense is
     supported by the specific enumeration of activities, such as the raising of fur-bearing
     animals, which would be included in the generic meaning of the word.” (emphasis
     added). It is clear that the inclusion of “horses” is entailed for uses typical of farm
     livestock, such as a work horse or a pack mule. Sport or performance horses, like a polo
     horse, which require specific breeding, handling, exercise, and training, would not fall
     under the ordinary use of the word.


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                    F.2d 18 (5th Cir. 1973):“Nor does it make any difference
                    that the employee is doing mixed work. In any week that
                    any particular employee does some non-exempt work he is
                    covered fully, not pro rata.” Citing Hodgson, supra, and
                    Mitchell v. Hunt, 263 F.2d 913 (5th Cir. 1959).

            Skipper v. Superior Dairies, Inc., 512 F.2d 409, 411 (5th Cir. 1975). So even if

     Plaintiff’s feeding of the horses did remotely constitute the “raising of livestock” Plaintiff

     performed a mix of exempt and non-exempt activities which defeats the claimed

     exemption. In addition to Plaintiff’s job duties, Plaintiff would take trips to and from polo

     games, both in state and out of state, away from Defendants’ locations entirely in order to

     have the horses participate in polo matches. Defendants' Statement of Material Facts at

     ¶21. As noted above, Plaintiff would provide support at polo matches, bring horses to the

     polo field, train the horses in the sport of polo, and warm the horses up for polo games,

     all of which are not intended under 29 U.S.C. 203(f). Defendants' Statement of Material

     Facts at ¶17-19. 2

            Plaintiff's care of the horses is more analogous to a race horse than a standard

     horse on a farm. “One exception to the rule that only domestic farm animals are included

     under the ‘livestock’ exemption exists in the case of race horses. Although horses raised

     solely for the purpose of racing do not appear to be farm animals in the strict sense of that

     phrase, they are exempted. However, this exemption is limited to race horses raised on

     a farm, and activities such as the care and training of race horses done in connection

     with other commercial activities, such as a race track, are not considered exempt.”



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      Additionally, work that is tied to “a separate and distinct business activity” is not to the
     anterior work of agriculture. Holly Farms Corp. v. N.L.R.B., 517 U.S. 392, 407 (1996),
     citing Imco Poultry, 202 N.L.R.B. 259, 261 (N.L.R.B. March 7, 1973). As noted, in the
     present case, Plaintiff is tasked with activities derived for training and caring horses for
     Polo matches, not raising or breeding done at a separate facility.


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     Beck v. Southern Rabbit Corp., 248 F.Supp. 1005, 1007 (N.D. Georgia 1966), citing 29

     C.F.R. 280.131 (1961) (emphasis added).

            Anticipating this analogy, Defendants turn to 29 C.F.R. 780.122:

                             Employees engaged in the breeding, raising, and
                    training of horses on farms for racing purposes are
                    considered agricultural employees. Included are such
                    employees as grooms, attendants, exercise boys, and
                    watchmen employed at the breeding or training farm.
                    On the other hand, employees engaged in the racing,
                    training, and care of horses and other activities performed
                    off the farm in connection with commercial racing are not
                    employed in agriculture. For this purpose, a training tack at
                    a racetrack is not a farm. Where a farmer is engaged in both
                    the raising and commercial raising of race horses, the
                    activities performed off the farm by his employees as an
                    incident to racing, such as the training and care of the
                    horses, are not practices performed by the farmer in his
                    capacity as a farmer or breeder as an incident to his raising
                    operations. Employees1.00 engaged in the feeding, care,
                    and training of horses which have been used in commercial
                    racing and returned to a breeding or training farm for
                    such care pending entry in subsequent races are
                    employed in agriculture.

            29 C.F.R. 780.122 (emphasis added).

            Defendants describe Halo Polo's operations and the equine industry in general as

     an exempted operation apart from non-exempt race horse activities, by claiming how

     polo activities described previously fall into the exempted category comparable to race

     horses. However, Defendants fail to properly describe Halo Polo LLC's operations for

     what they really are: a bifurcated system that includes non-exempt activity more

     comparable to 29 C.F.R. 780.122 than Defendants would like to believe. Defendants also

     fail to address the narrow interpretation of FLSA exemptions and that impact on the

     agricultural exemption for this case.




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            As Defendants allege in their motion and statement of facts, Halo Polo operates 2

     sets of locations: two in Wellington, FL (one in which Plaintiff works) and two in Ocala,

     FL. Defendants' Statement of Facts at ¶7 and 11. As stated above, the horses Plaintiff

     worked with do not come to him from the Ocala farms until they're raised and ready for

     polo games at several years old. Plaintiff's Statement of Facts at ¶12-13. The polo fields

     where Halo Polo's horses play are located mostly in Wellington, FL. Defendants'

     Statement of Facts at ¶20. Games during the high season ran 1-2 times a week and during

     the off season 2-3 times a week. Plaintiff's Statement of Facts at ¶35. When horses

     weren't playing polo, the horses were sent back to live in Ocala. Defendants' Statement of

     Claim at ¶8.

            It's obvious, therefore, that Defendants operated their business in manner

     inconsistent with the exemption’ application under 29 C.F.R. 780.122: the Ocala farms

     were used to breed and raise horses in the exempt manner described in the C.F.R.

     provision, while the Wellington locations where Plaintiff worked acted as a holding

     location for the multiple, weekly polo games held there and the activities there were non-

     exempt activities in connection with polo games. Supra 29 C.F.R. 780.121. The Ocala

     farms are comparable to the exempt breeding and raising farms of horse racing while the

     Wellington locations and polo fields are more comparable to the non-exempt racetrack

     activities of 29 C.F.R. 780.122. Since Plaintiff is not associated with the Ocala farms,

     but rather the polo activities of Wellington, Plaintiff's activities are not exempt.

            Defendants further try to distance polo from horse racing by singling out the

     commercial component of horse racing. Defendants contend that since polo does not

     compete for a cash prize it must not be commercial in nature, and this makes the




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     comparison inapplicable to finding polo activities not exempt. Defendants’ reading of

     “commercial” in the CFR is underdeveloped and vague. The promulgation does not limit

     or define “commercial” in 29 C.F.R. 780.122 to cash prizes. It does not state whether or

     not the commercial aspect is a monetary prize for the horse, or if it's being applied to the

     winnings from horse racing-related gambling to race patrons. The promulgation doesn't

     even provide if the commercial aspect doesn't apply to the sale of the race horse itself. Id.

     It should be noted that in the same paragraph where Defendants try to distance polo from

     horse racing due to a lack commercial activity, Defendants mention that Halo Polo leases

     and sells its polo horses. Defendants make no attempt to explain how there is no

     commercial activity involved in the leasing or selling of sport horses, be it polo or

     otherwise.

            2. SECONDARY AGRICULTURE

            Defendants then try to claim that Plaintiff's job is second agriculture under the

     FLSA. The secondary meaning of agriculture under the FLSA includes “any practices…

     performed by a farmer or on a farm as incident to or in conjunction with such farming

     operations.” 29 U.S.C. 203(f). Defendants argue that the functions of Halo Polo LLC

     itself are that of a farmer and since Plaintiff is an employee of Halo Polo LLC then

     Plaintiff, too, must be a farmer, citing 29 C.F.R. 780.132. The promulgation, however, is

     not that absolute as it also states that “[o]ne who merely performs services or supplies

     materials for farmers in return for compensation in money or farm products is not a

     ‘farmer.’” 29 C.F.R. 780.132. It’s apparent, therefore, that the employee’s activities and

     their relation to the farmer’s agricultural activities must be more closely related than

     simply being an employee of a farmer.




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                     Agriculture, within the meaning of the Act, has two distinct
                     branches: "(1) a primary meaning which includes farming
                     in all its branches, such as cultivation and tillage of soil,
                     growing and harvesting of crops, and (2) a secondary
                     meaning which includes other farm practices, but only if
                     they are performed by a farmer or on a farm." Hodgson v.
                     Idaho Trout Processors Co., 497 F.2d 58, 59 (9th Cir.
                     1974) (citing Farmers Reservoir & Irrigation Co. v.
                     McComb, 337 U.S. 755, 762-63, 93 L. Ed. 1672, 69 S. Ct.
                     1274 (1949)). The secondary practices must be performed
                     "incidentally to or in conjunction with such farming
                     operations." Farmers Reservoir & Irrigation Co., 337 U.S.
                     at 763. Farming includes horticulture. 29 U.S.C. § 203(f).

             Ares v. Manuel Diaz Farms, 318 F.3d 1054, 1056 (11th Cir. 2003). The code of

      federal regulations defining “"As an incident to or in conjunction with" the farming

      operations” states “Generally, a practice performed in connection with farming

      operations is within the statutory language only if it constitutes an established part of

      agriculture, is subordinate to the farming operations involved, and does not amount to

      an independent business.” [Emphasis added]. 29 C.F.R. 780.144.

             As stated above, Defendants’ business operations were bifurcated: the Ocala

      facilities breed and raised horses and took care of horses when they were not involved in

      polo while the Wellington facilities were involved in actually training and facilitating

      polo games and matches. Polo is not an established part of agriculture, is it not

      subordinate to the breeding and raising duties of the Ocala location, and the actual

      training and playing of polo matches is tantamount to a business independent of the

      breeding and raising aspect of Halo Polo’s operations. As such, Plaintiff’s work at the

      Wellington facility cannot be said to be performed in connection with farming

      operations.




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             The Seventh Circuit dealt with a case of work performed by employees on a farm
      in Adkins v. Mid-America Growers, Inc., 167 F.3d 355 (7th Cir. 1999).


                    Mid-American's president has his home on the property on
                    which the greenhouse is located, and one of the plaintiffs,
                    Ortiz, was assigned to mow the president's lawn and do
                    other gardening-type activities around the house. This
                    clearly was nonexempt activity, and because Ortiz worked
                    overtime he is entitled to damages. It is true that an
                    incidental effect of mowing the president's lawn was to
                    reduce the insect population, which might endanger the
                    plants if some of the insects strayed into the
                    greenhouse. But the primary purpose was to make the
                    president's home attractive; pest control was secondary.
                    A nonagricultural activity that would be undertaken
                    even if the actor weren't engaged in agriculture is not
                    secondary agriculture; its cost is not incurred because
                    of agriculture. [Emphasis added].

             Adkins v. Mid-America Growers, Inc., 167 F.3d 355, 359 (7th Cir. 1999).


             “No matter how closely related it may be to farming operations, a practice
      performed neither by a farmer nor on a farm is not within the scope of the
      "secondary" meaning of "agriculture."” 29 C.F.R. 780.129. (emphasis added) “If a
      practice is not performed by a farmer, it must, among other things, be performed "on a
      farm" to come within the secondary meaning of "agriculture" in section 3(f). Any practice
      which cannot be performed on a farm, such as "delivery to market," is necessarily
      excluded, therefore, when performed by someone other than a farmer” 29 C.F.R.
      780.134.


                    Thus, employees employed by commission brokers in the
                    typical activities conducted at their establishments,
                    warehouse employees at the typical tobacco warehouses,
                    shop employees of an employer engaged in the business of
                    servicing machinery and equipment for farmers, plant
                    employees of a company dealing in eggs or poultry
                    produced by others, employees of an irrigation company
                    engaged in the general distribution of water to farmers, and



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                     other employees similarly situated do not generally come
                     within the secondary meaning of "agriculture."

             29 C.F.R. 780.129.

             None of Plaintiff’s job duties were incidental or in conjunction with Halo Polo

      LLC’s farming operations. When a horse was in Ocala, it was being raised, fattened, fed,

      and cared for in conjunction with Halo Polo’s farming operations. But when a horse was

      sent to Wellington, it was there to play sport, not to be raised or fattened; any feeding or

      care for the horse was incidental to the playing and performance of a sport rather than the

      activities of a farmer under 29 U.S.C. 203(f). When the Plaintiff is transporting the horses

      via truck and trailer, he’s not doing so to send the horses to market or storage, nor is he

      doing as part of raising or breeding livestock; the Plaintiff is transporting the horses so

      they can participate in organized, competitive sports. When Plaintiff exercised or trained

      a horse, it was in relation to the horse’s polo game which occurred several times weekly

      right there in Wellington. The actual activities contemplated by 29 USC 203(f) occurred

      at Halo Polo’s Ocala farm, whereas the activities in Wellington were non-exempt

      activities more akin to horses at a race track.

             As such, Defendants are not entitled to the agricultural exemption as Plaintiff’s

      activities are more comparable to that of non-exempt activities rather than the typical

      farm activities contemplated by 29 U.S.C. 203(f).

      C. THE AFFIRMATIVE DEFENSE OF COST CREDIT HAS BEEN WAIVED
           AND DOES NOT APPLY.


             Defendants then move to state that both Plaintiff’s Federal and Florida Minimum

      Wage claims are not supported by Fact or Law. The basis for their argument is the cost

      credit defense under the FLSA.



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                             Where payments are made to employees in the form
                     of goods or facilities which are regarded as part of wages,
                     the reasonable cost to the employer or the fair value of such
                     goods or of furnishing such facilities must be included in
                     the regular rate…. Where, for example, an employer
                     furnishes lodging to his employees in addition to cash
                     wages the reasonable cost or the fair value of the lodging
                     (per week) must be added to the cash wages before the
                     regular rate is determined.

             29 C.F.R. 718.116.

             However, Defendants are not entitled to the defense as the defense was never pled

      and was therefore waived. None of the affirmative defenses listed in Defendants’ Answer

      and Affirmative Defenses at [DE 12] list the cost credit defense. In an Eleventh Circuit

      decision, the Court reversed the district court for allowing Defendants to amend their

      pleadings to assert an affirmative defense at trial. Diaz v. Jaguar Rest. Group, LLC, 627

      F.3d 1212 (11th Cir. Fla. Dec. 13, 2010). See also, Donahay v. Palm Beach Tours &

      Transportation, 243 F.R.D. 697 (S.D. Fla. 2007) (defendants sought to amend answer

      and affirmative defenses seeking a declaration that would trigger the Motor Carrier Act,

      and this Court found that simply failing to timely plead is not good cause). See also

      Latimer v. Roaring Toyz, Inc., 601 F.3d 1224, 1239 (11th Cir.2010) (“Failure to plead an

      affirmative defense generally results in a waiver of that defense.”). See also Fla. Health

      Scis. Ctr., Inc. v. Humana Med. Plan, Inc., 190 F. Supp. 2d 1297, 1304 (M.D. Fla. 2001)

      (“Failure to plead an affirmative defense generally results in the waiver of the defense.

      An affirmative defense must be pleaded in the answer in order to give the opposing party

      sufficient notice of the defense and the ability to gather proper evidence and develop

      arguments to refute the defense.”). See also Fed. R. Civ. P. 8(c) (“In responding to a

      pleading, a party must affirmatively state any avoidance or affirmative defense”.) In the




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      instant matter, Defendants never moved to amend, and thus waived any specific cost

      credit defenses as they were never pled as affirmative defenses. Nor has Plaintiff given

      implied or express consent to the issue. Diaz, 627 F.3d at 1214, citing Fed. R. Civ. P.

      15(b).

               The United States District Court for the District of South Carolina, Charleston

      Division, was faced with a factual similar issue in Rotondo et al. v. Cite of Georgetown,

      869 F. Supp. 369 (Dist. S.C. 1994). In Rotondo, Defendants elected to assert the

      affirmative Defenses of the executive and/or administrative exemption for the first time

      on their motion for summary judgment. The Court in response stated:

                      In its Motion for Summary Judgment, Defendant raises for
                      the first time the defense that Plaintiffs Anderson, Johnson,
                      Pack, and Ward are exempt from the overtime provisions of
                      the FLSA as executive and/or administrative employees as
                      defined by 29 C.F.R. § 541. The assertion of an
                      exemption from the mandates of the FLSA is an
                      affirmative defense that must be specifically pleaded by
                      an employer or it is waived. Renfro v. City of Emporia,
                      741 F. Supp. 887, 888 (D. Kan. 1990), aff'd, 948 F.2d
                      1529, 1539 (10th Cir. 1991). Therefore, because Defendant
                      had not specifically pleaded this affirmative defense for
                      Plaintiffs Anderson, Johnson, Pack, and Ward prior to its
                      Motion for Summary Judgment, this court finds that
                      Defendant has waived this defense. [Emphasis added].


               Id at 374. See also, Wright v. AARGO Security Services, Inc., 2001 U.S. Dist.
      LEXIS 882, *6 (S.D. NY 2001). Analogously, in Day v. Liberty National Life Insurance
      Company, 122 F.3d 1012, 1015 (11th Cir. 1997), the Eleventh Circuit found the statute of
      limitations defense to be waived if not pled. (“The statute of limitations is an affirmative
      defense which must be specifically pled. Fed.R.Civ.P. 8(c).”). As Defendants have failed
      to assert the affirmative defense for a cost credit, said affirmative defense has been
      waived, see Diaz, 627 F.3d at 1215.




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             Defendants will contend, however, that they did plead the Affirmative Defense.
      Namely, Defendants will cite to their Fifth Affirmative Defense (“[a]t all times material,
      Plaintiff’s wages exceeded Federal minimum wage and thus he is not entitled to relief
      under the FLSA.”) and their Sixth Affirmative Defense (“[a]t all times material,
      Plaintiff’s wages exceed Florida minimum wage and thus is he is not entitled to relief
      under the Florida Minimum Wage Act.”). [DE 12]. Defendants cannot rely on such
      grossly vague pleadings to allege the Cost Credit Affirmative Defense was pled. Nothing
      about the pleading puts Plaintiff on notice regarding the Cost Credit Defense, and
      Defendants do not cite the Affirmative Defense specifically until the filing of their
      Motion for Summary Judgment. As such, this part of Defendants’ motion is improper and
      should be denied outright as procedurally deficient.
             Even if Defendants did properly plead the Affirmative Defense- which Plaintiff
      maintains they did not- Defendants still are not entitled to the cost credit as to the Federal
      and Florida Minimum Wage claims.
             “When calculating the amount of back wages due to an employee under the
      FLSA, therefore, the employer is entitled to a credit for the reasonable cost of providing
      the meals and lodging…. The regulations require employers to keep certain records of the
      costs incurred in furnishing board, lodging or other facilities, 29 C.F.R. 516.27(a), and
      also require the employer to maintain records showing additions or deductions from
      wages paid for board, lodging or other facilities on a work week basis. 29 C.F.R.
      516.28(b).”   Quoting, Donovan v. The New Floridian Hotel, Inc., 676 F.2d 468, 473-74
      (11th Cir. 1982).
                     Moreover, regarding an employer seeking a cost credit, it is
                     provided that “the Secretary is authorized to determine the
                     fair value of such board, lodging, or other facilities for
                     defined classes of employees and in defined areas, based on
                     average cost to the employer or to groups of employers
                     similarly situated, or average value to groups of employees,
                     or other appropriate measures of fair value. Such
                     evaluations, where applicable and pertinent, shall be used
                     in lieu of actual measure of cost in determining the wage
                     paid to any employee. In determining the wage of a tipped
                     employee, the amount paid such employee by his employer


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                     shall be deemed to be increased on account of tips by an
                     amount determined by the employer, but not by an amount
                     in excess of 50 per centum of the applicable minimum
                     wage rate, except that the amount of the increase on
                     account of tips determined by the employer may not exceed
                     the value of tips actually received by the employee.”

             Quoting, Donovan, 676 F.2d at 464.

             The employer has the burden of showing entitlement to the credits claimed under

      the FLSA and the district court should appropriately place the burden of proving the

      reasonable cost of providing board, lodging, or other facilities on the employer. In

      Marshall v. DeBord, Lab.Cas. P 33,721 (E.D.Okl.1978), the court ruled that the

      employer has the burden of showing that he has satisfied the conditions imposed by the

      FLSA and regulations in order to be entitled to a credit for the reasonable cost of meals

      and lodging provided to employees. Finding that the defendant in that case had not

      produced records or other evidence to establish the reasonable cost (not including profit)

      of providing the board, lodging, or other facilities which he customarily furnished to

      employees, the court denied any credit against back wages due. Similarly, in Morgan v.

      Atlantic Coastline R. Co., 32 F. Supp. 617 (S.D.Ga.1940) the court did not allow the

      employer to include the value of housing facilities provided to employees as wages paid

      for purposes of the FLSA, because the employer had not requested the Administrator of

      the Wage and Hour Division, United States Department of Labor, to determine the

      reasonable cost of providing those facilities. Id. at 619. The court noted that there was no

      evidence to show the reasonable or actual cost of any facility which employers claimed

      they had furnished to the employees. Id.” Quoting Donovan, 676 F.2d at 474.

             In Donovan , the Eleventh Circuit ruled that “[i]n this case, the appellants have

      failed to prove the reasonable cost of the meals and lodging which they claim was



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      furnished to employees. The appellants have not kept the records required by 29 C.F.R. §

      516.27 with respect to the cost of providing the meals and lodging in question of with

      respect to the actual deductions claimed on a week-by-week basis. The Administrator of

      the Wage and Hour Division made no determination of reasonable cost in this case, nor

      does the record reflect any request by the appellants for such a determination…. an

      employer's unsubstantiated estimate of his cost, where the employer has failed to comply

      with the recordkeeping provisions of the FLSA, and where there has been no

      determination of reasonable cost by the Wage and Hour Division, does not satisfy the

      employer's burden of proving reasonable cost.” Id. at 475.

             In the case at hand, Defendants have produced nothing more than an affidavit by

      Defendant Melissa Ganzi as to the value of the accommodations provided to Plaintiff.

      See the Declaration of Melissa Ganzi, previously filed as [DE 25-5]. Defendants have not

      produced any records as to the costs or deductions related to the housing, nor have

      Defendants produced evidence of any determination by the Administrator of the Wage

      and Hour Division of the United States Department of Labor regarding the reasonable or

      actual cost of the furnished facility. In addition, such costs were never discussed with

      Plaintiff nor did he understand that they were included and further it was told to Plaintiff

      that it was a requirement that Plaintiff live on the premises. Plaintiff’s Statement of Facts

      at ¶22, 27, 31-33. In fact, Defendant Melissa Ganzi’s Affidavit is contradicted by the

      Defendant’s own Deposition Testimony: when asked about the rental value of Plaintiff's

      accommodations at her deposition, Defendant Melissa Ganzi could not answer what the

      value of the rent would be because Plaintiff was already there when the barn was

      purchased and always lived there. Id. at ¶22. Prior to the initiation of this lawsuit and all




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      the way up to her Deposition a scant 2 months ago, Defendant Melissa Ganzi had made

      no determination as to the value of Plaintiff’s housing for the relevant time period of his

      work for her; it is only now at summary judgment that Defendants have provided a

      calculation as to its value.

              Furthermore, in Marshall v. New Floridian Hotel, Inc., 1979 U.S. Dist. LEXIS

      10122, 28-30 (S.D. Fla. Aug. 29, 1979), the district court held that an employer cannot

      claim a credit where he fails to offer an employee the option of receiving cash instead of

      the credit the employer intends to assert for meals, lodging and other facilities as

      acceptance of said meals, lodging and other facilities cannot be considered voluntary and

      uncoerced.


                      (B) Defendants have failed to provide their employees with
                      an option to receive in cash the amounts attributed and
                      claimed as a credit by defendants for meals, lodging or
                      other facilities prior to the employees' acceptance thereof
                      and prior to deductions being taken or claimed by
                      defendants from the wages paid such employees. Absent
                      the aforesaid option, an employee's acceptance of such
                      meals, lodging or other facilities is not voluntary and
                      uncoerced and thus such may not be considered "furnished"
                      under Section 3(m) of the Act as part of wages paid the
                      employee in accordance with 29 CFR 531.30.


              In the case at hand, Defendants failed to produce any evidence that there was an

      agreement that the lodging would ever be considered as part of the wages paid to

      Plaintiff. This was only contemplated by Defendants post facto after they had been sued

      for the non-payment of minimum and overtime wages, as is evident from Defendant

      Melissa Ganzi’s deposition testimony. In fact, as noted above Plaintiff was told the usage

      of the apartment was mandatory and was not aware it was part of his compensation.




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      Therefore, Defendants have failed to produce any evidence regarding an agreement with

      Plaintiff that the facilities provided to Plaintiff would ever be considered as part of his

      wages. As Defendants have failed to produce any evidence that they offered Plaintiff the

      opportunity to receive the cash for the value of the apartment instead of the apartment,

      the usage of said apartment by Plaintiff cannot be considered voluntary and uncoerced.

             Defendants’ cost credit defenses as to both the Federal and Florida Minimum

      Wage claims should be denied because they are both procedurally deficient and

      Defendants as a matter of law cannot claim them.

      WHEREFORE, DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT OUGHT
      TO BE DENIED IN ITS ENTIRETY FOR THE REASONS STATED.



                                        Respectfully submitted,

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                            CERTIFICATE OF SERVICE:

          I HEREBY CERTIFY THAT A TRUE AND CORRECT COPY OF THE
            FOREGOING WAS PROVIDED SUBSEQUENT TO E-FILING TO:

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